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11                                                  Counsel for Plaintiffs and the Proposed Classes

12

13                                 UNITED STATES DISTRICT COURT

14                                NORTHERN DISTRICT OF CALIFORNIA

15                                    SAN FRANCISCO DIVISION

16

17   JILL LEOVY, NICHOLAS GUILAK,                    )    CASE NO.: 3:23-cv-03440-AMO
     CAROLINA BARCOS, PAUL MARTIN,                   )
18   MARILYN COUSART, ALESSANDRO DE LA               )    STIPULATION AND [PROPOSED]
     TORRE, VLADISSLAV VASSILEV, JANE                )    ORDER TO CONTINUE CASE
19   DASCALOS, and minor G.R., individually, and     )    MANAGEMENT CONFERENCE
     on behalf of all other similarly situated,      )    AND AUTHORIZE BRIEFS IN
20                                                   )    EXCESS OF DEFAULT PAGE
                    Plaintiffs,                      )    LIMITS
21                                                   )
            v.                                       )    Judge: Hon. Araceli Martínez-Olguín
22                                                   )
     GOOGLE LLC,                                     )
23                                                   )
                    Defendant.                       )
24                                                   )

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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE                       CASE NO.: 3:23-CV-03440-AMO
     CMC AND EXCEED PAGE LIMITS
        Case 3:23-cv-03440-AMO Document 32 Filed 01/31/24 Page 2 of 4



 1           Defendant Google LLC and Plaintiffs Jill Leovy, Nicholas Guilak, Carolina Barcos, Paul

 2   Martin, Marilyn Cousart, Alessandro De La Torre, Vladisslav Vassilev, Jane Dascalos, and minor

 3   G.R. (collectively, “the Parties”), by and through their respective counsel of record, hereby

 4   stipulate as follows:

 5           WHEREAS, Plaintiffs filed their original Complaint on July 11, 2023 (ECF No. 1);

 6           WHEREAS, Plaintiffs’ original Complaint asserted ten causes of action over 85 pages, on

 7   behalf of 8 individual plaintiffs and two putative classes;

 8           WHEREAS, the Court granted the Parties’ stipulated request for up to 30 pages for

 9   Defendants’ motion to dismiss the original Complaint and Plaintiffs’ opposition to that motion

10   (ECF No. 18);

11           WHEREAS, Defendant filed its motion to dismiss on October 16, 2023 (ECF No. 20);

12           WHEREAS, Plaintiffs elected to file a First Amended Complaint in lieu of opposition to

13   Defendant’s motion to dismiss, and the Court granted the Parties’ stipulated request for Plaintiffs

14   to file a First Amended Complaint by January 5, 2024 (ECF No. 27);

15           WHEREAS, Plaintiffs’ First Amended Complaint (ECF No. 28) adds new allegations,

16   claims, and plaintiffs, asserting 12 causes of action over 137 pages, on behalf of nine individual

17   plaintiffs and three putative classes;

18           WHEREAS, Defendant anticipates moving to dismiss the First Amended Complaint;

19           WHEREAS, the Court so-ordered the Parties’ stipulated briefing schedule for Defendants’

20   anticipated motion to dismiss, with the motion due February 9, 2024; the opposition due March

21   15, 2024; and the reply due April 5, 2024 (ECF No. 30);

22           WHEREAS, in light of the number of allegations and causes of action in the First Amended

23   Complaint compared to the original Complaint, and the Court’s previous allowance of up to 30

24   pages for briefing concerning the original Complaint, the Parties request up to 35 pages for

25   Defendant’s motion to dismiss the First Amended Complaint and Plaintiffs’ opposition brief, and

26   up to 20 pages for Defendants’ reply brief;

27           WHEREAS, the Parties anticipate that the motion to dismiss will be heard on May 16,

28   2024.
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE       -1-                 CASE NO.: 3:23-CV-03440-AMO
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 1          WHEREAS, lead counsel for Defendant has had a hearing in another matter scheduled on

 2   the morning of February 22, 2024, and thus now has a conflict on the date currently set for the

 3   Case Management Conference in this matter;

 4          WHEREAS, the Parties agree that, in light of the First Amended Complaint and the

 5   anticipated motion to dismiss, it would be more efficient and orderly for the Case Management

 6   Conference to take place after the hearing on the motion to dismiss;

 7          NOW, THEREFORE, pursuant to Civil Local Rules 6-2 and 7-12, the Parties agree, subject

 8   to the approval of the Court, as follows:

 9          1. Defendant may file a memorandum in support of its motion to dismiss the First
                                          30
10             Amended Complaint of up to 35 pages in length;

11          2. Plaintiffs may file a memorandum in opposition to Defendant’s motion to dismiss of
                      30
12             up to 35 pages in length;

13          3. Defendant may file a reply memorandum in support of its motion to dismiss of up to
                17
14             20 pages in length;

15          4. the Initial Case Management Conference, currently scheduled for February 22, 2024 at

16              10 a.m., shall be continued to June 6, 2024 at 10 a.m., or such other time as the Court

17              may order at the hearing on the motion to dismiss;

18          5. the Parties’ joint case management statement shall be filed by May 30, 2024; and

19          6. the Parties shall make their Rule 26(a) initial disclosures by May 30, 2024.

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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE                 -2-       CASE NO.: 3:23-CV-03440-AMO
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 1                                               Respectfully submitted,

 2   Dated: January 31, 2024                     WILSON SONSINI GOODRICH & ROSATI
                                                 Professional Corporation
 3

 4                                                  By: /s/ David H. Kramer
                                                          David H. Kramer
 5                                                        dkramer@wsgr.com

 6                                                  Counsel for Defendant
 7

 8   Dated: January 31, 2024                     CLARKSON LAW FIRM
                                                  Professional Corporation
 9
                                                 By: /s/ Yana Hart
10                                                       Yana Hart
                                                         yhart@clarksonlawfirm.com
11
                                                    Counsel for Plaintiffs and the Proposed Classes
12

13                                    SIGNATURE ATTESTATION
14          I, David H. Kramer, am the ECF User whose ID and password are being used to file this
15   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the concurrence
16   in the filing of this document has been obtained from the other signatory.
17                                                  By: /s/ David H. Kramer
                                                          David H. Kramer
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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE       -3-                  CASE NO.: 3:23-CV-03440-AMO
     CMC AND EXCEED PAGE LIMITS
